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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

FREDERICK KLORCZYK, JR., as co-administrator : CIVIL ACTION NO.
of the Estate of Christian R. Klorczyk, et al. :
                                               :
                               Plaintiffs,     : 3:13-cv-00257-JAM
                                               :
vs.                                            :
                                               :
SEARS, ROEBUCK AND CO., et al.,                :
                                               :
                               Defendants.     : OCTOBER 11, 2018




   MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR
    SUMMARY JUDGMENT ON PLAINTIFFS’ PRODUCT LIABILITY CLAIMS


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       Plaintiffs Frederick Klorczyk, Jr. and Lynne Klorczyk, co-administrators of the Estate of

Christian Klorczyk, submit this memorandum of law in opposition to Defendants’ motion for

summary judgment on Plaintiffs’ claims under the Connecticut Product Liability Act, Conn.

Gen. Stat. §§ 52-572m et seq. (the “Act”) (ECF No. 296).

                              I.   PRELIMINARY STATEMENT

       On March 11, 2011, Plaintiffs’ 21 year old son Christian was crushed to death as he was

completing a routine oil change in the garage attached to his family’s Waterford home. No one

else was in the garage when the 1,900-lb BMW that Christian was working under suddenly and

unexpectedly collapsed on to his face and chest. Plaintiffs were first to find Christian, and their

testimony (taken over the course of nearly 24 hours) is unwavering as to the critical fact at issue

here – that Defendants’ jack stand was the only device that Christian could have been using to

support the BMW when it collapsed. We know this because Plaintiffs found the jack stand

beneath the front passenger-side of the BMW, where Christian would have placed it to keep the

vehicle elevated allowing him access to the underbody. The first emergency responder to arrive

at the garage also observed the jack stand in the same position – beneath the front passenger-side

of the BMW. There is no reasonable explanation for the jack stand to have been in that position

other than the simplest one: that Christian was using the jack stand when it unexpectedly failed

and the BMW came crashing down.

       The potential causes of failure are limited by the jack stand’s physical condition and

location beneath the BMW. There is no sign of fracture, ruling out an overload or structural

failure. There is no sign that the jack stand tipped over while supporting the weight of the

BMW. The remaining (and most likely) cause of failure is “false engagement,” a condition that

occurs due to a known defect in the jack stand’s ratchet-and-pawl design. Specifically, false
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engagement occurs when the tip of the locking pawl fails to engage the grooved indentations

along the toothed side of the ratchet bar; the jack stand is susceptible to failure when the locking

pawl fails to engage and rests on a tooth of the ratchet bar as shown in the below exemplar:




       Plaintiffs commissioned comprehensive analysis of false engagement by an expert with

40-plus years’ experience in vehicle support equipment, Frederick Heath. 1 Mr. Heath utilized an

exemplar model jack stand and an exemplar model BMW to test false engagement under

circumstances extant in the Klorczyk’s garage. Mr. Heath’s testing demonstrates that: (i) false


       1
        Plaintiffs refer to their memorandum in opposition to Defendants’ motion to preclude
Mr. Heath’s testimony for a detailed discussion of his qualifications and work in this case.

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engagement occurs when the jack stand is under load; (ii) the jack stand is capable of supporting

weight comparable to that of the BMW when the locking pawl and ratchet bar are aligned in

false engagement; and (iii) a disturbance to the jack stand or the vehicle causes the ratchet bar

(and, with it, the vehicle) to collapse. These results are consistent with the evidence concerning

the subject jack stand’s condition and location.       Additionally, when Plaintiffs first found

Christian, they observed his right hand holding a socket wrench that was connected to the oil

drain plug, such that he was tightening the plug when the collapse occurred. Simulating the

vehicle’s movement relative to the forces applied when tightening the oil drain plug, Mr. Heath

found the resulting disturbance sufficient to cause the falsely engaged ratchet bar to collapse,

along with the BMW. The evidence, coupled with his extensive testing, fully supports Mr.

Heath’s expert opinion that the subject jack stand failed as a result of false engagement.

       In support of their motion, Defendants dispute that Christian was using their jack stand;

instead, they claim he was using a service jack that “slipped out” from underneath the BMW.

(Defs’ Mem. 1.) Defendants’ theory is belied by Plaintiffs’ observations, after entering the

garage, that the service jack was upright and parallel to – not underneath – the BMW, with the

lifting arm fully lowered and the lifting handle removed and located next to the base.

Defendants do not and cannot explain how the service jack possibly could have ended up in this

position after purportedly sliding out from underneath the BMW. Defendants’ proffered expert,

James Sprague, performed no testing to measure the force necessary for the service jack to slide

out while supporting the BMW. 2 Dr. Sprague’s opinion that the service jack slipped is based on

the presence of marks along the passenger-side rocker panel of the BMW; however, he admits


       2
         In rebuttal, Mr. Heath measured the force required to pull the service jack out from
underneath the BMW as ranging from 420 to 450 lbs. It is not possible that Christian could have
exerted such force while working under the BMW.

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(as he must) that these marks could have existed prior to March 11, 2011. Indeed, the Klorczyks

used the 4-wheel drive BMW as a winter vehicle, and pictures of the BMW taken in March 2007

– 4 years before the incident – depict snow and ice in the same location of the passenger side-

rocker panel as shown in this comparison:




       Defendants’ service jack theory is meritless, and a red herring offered to distract the

Court from the record evidence showing that Christian was killed by their defective jack stand.

Defendants have good reason to avoid confronting false engagement head-on.                 Despite

disclaiming any prior knowledge of the defect at the outset of this case, Defendants’ position is

no longer tenable in light of information obtained from a former employee of Defendant Shinn

Fu America (“SFA”), Roger Claypool.          During his 20-year tenure at SFA, Mr. Claypool

concluded, as a result of investigating claims involving jack stand failures, that false engagement

was a problem requiring attention. To this end, Mr. Claypool developed plans for an alternative

jack stand design that utilized redundant locking mechanisms to prevent collapse due to false

engagement. Defendants did not act on Mr. Claypool’s proposal, nor did they implement other

safeguards, including adequate and appropriate warnings or instructions specific to false

engagement. In contrast, Defendants’ industry peers and competitors successfully brought to


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market jack stands with additional safety features and warnings and instructions, which if sold

with the subject jack stand would have prevented Christian’s untimely death.3

       The evidence supports Plaintiffs’ claims under the Act, including as to Christian’s use of

Defendants’ jack stand and the occurrence of false engagement as the cause of the jack stand’s

failure. Defendants’ service jack theory, baseless though it is, further illustrates that the nature of

this dispute is inherently factual, and cannot be resolved on summary judgment. The parties’

principal disagreements concerning causation – namely, whether Christian was using the jack

stand and what caused the jack stand’s failure – are fact issues that only the jury can resolve.

Additional reasons for denying Defendants’ motion are set forth below.

            II.    ADDITIONAL FACTS PRECLUDING SUMMARY JUDGMENT4

A.     Christian Was Crushed When Defendants’ Jack Stand Failed.

       1.         Defendants’ Jack Stand is the Only Device that Christian Could Have Used
                  to Support the BMW.

       Plaintiffs provided vivid and consistent accounts of key facts supporting Christian’s use

of Defendants’ jack stand. Upon entering the garage, Plaintiffs observed the BMW parked

straight inside the center bay. Christian’s lower legs and feet were protruding out from beneath

the front bumper. Mr. Klorczyk crawled underneath the BMW and found the subject Craftsman

Model 50163 4 ton jack stand inboard of the front passenger-side wheel well. Mr. Klorczyk

taught Christian to position the jack stand in this location so that the saddle on top of the ratchet

bar was in contact with the longitudinal steel engine frame depicted below, allowing the jack

stand to support the BMW in an elevated position (Pls’ Stmt. ¶¶ 5, 10 at 21, 23):

       3
        As to Defendants’ prior knowledge of false engagement, Plaintiffs refer to their
memorandum of law and accompanying local rule statement in opposition to Defendants’ motion
for summary judgment on punitive damages.
       4
        Facts referenced herein are set forth with citations to supporting evidence in Plaintiffs’
Local Rule 56(a)2 Statement (“Pls’ Stmt.”) filed simultaneously herewith.

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       Mr. Klorczyk assembled the service jack located parallel to the BMW by inserting the

lifting handle in to the socket, wheeled the service jack under the passenger-side, and pumped

the handle to lift the vehicle off of Christian. With the BMW lifted, Mrs. Klorczyk could see the

subject jack stand in the same location described by her husband. (Id. ¶¶ 5, 10, 12–18 at 21, 23–

25.)

       The first emergency responder on scene, EMT Geoffrey Hausmann, arrived at the garage

within minutes. Mr. Hausmann crawled under the BMW, and observed the jack stand in the

same location beneath the front passenger-side of the BMW. (Id. ¶ 19 at 25.) The only

reasonable explanation for the jack stand to be in that location is that Christian was using the

jack stand to support the BMW in an elevated position when the jack stand failed.




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       2.      Christian Could Not Have Been Using the Service Jack as Defendants assert.

       The service jack is a device utilized to raise and lower a portion of a vehicle; the service

jack is not used as a support device. The service jack functions by increasing and decreasing

hydraulic pressure. To raise the lifting arm, the lifting handle is inserted in to the socket and

turned clockwise, closing the hydraulic valve and allowing the user to increase the pressure by

pumping the handle up and down. To lower the lifting arm, the lifting handle is inserted in to the

socket and turned counterclockwise, opening the valve and releasing the pressure. (Id. ¶ 8 at 22–

23.)

       Plaintiffs observed the service jack parallel to the BMW with the lifting arm fully

depressed and the lifting handle removed. To lift the BMW off of Christian, Mr. Klorczyk had

to insert the lifting handle and pump the lifting arm, and Mr. Hausmann arrived as Mr. Klorczyk

was in the process of doing so. (Id. at ¶¶ 16, 19 at 25.) Given its disassembled position, the

service jack could not have been in use when the BMW collapsed. It is not possible that the

service jack “slipped out” from underneath the BMW yet somehow remained upright and

parallel to the BMW with the lifting arm fully lowered and the lifting handle removed – only

Christian could have dissembled and positioned the service jack in this way prior to rolling on

the mechanic’s creeper underneath the elevated BMW. Further, Mr. Klorczyk taught Christian

that the service jack is not used to support an elevated vehicle; rather, the service jack is moved

away from the vehicle after transferring the load to a jack stand, which is consistent with the

location of the service jack and the jack stand in the garage. (Id. ¶ 11 at 4, ¶ 11 at 23.)

       Defendants’ reliance on Dr. Sprague’s opinion to support their service jack theory is

misplaced, because the evidence does not support a finding as to when marks were made on the

BMW’s passenger-side rocker panel. (Defs’ Mem. at 6.) Dr. Sprague’s opinion also is based on

the erroneous assumption that Christian’s sternum was positioned beneath the front lateral engine

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frame cross-member; in fact, Plaintiffs observed Christian’s sternum beneath the rear lateral

engine frame cross-member and manual transmission and his head and face further to the rear

beneath the transmission assembly as shown below:5




       5
        The size and location of the injuries to Christian’s sternum and face are consistent with
the underbody components of the rear lateral engine frame cross-member and the transmission
assembly and transmission fluid drain plug, respectively. (Pls’ Stmt. ¶ 15 at 24.)

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Dr. Sprague’s erroneous assumption pervades the measurements that form the basis for his

opinions, and he cannot rule out that Christian was using the jack stand when the BMW

collapsed. (Pls’ Stmt. ¶¶ 16–17 at 6–7.)

       Defendants also improperly rely on the opinion of Waterford Police Lt. Brett Mahoney;

in particular, that Lt. Mahoney reported the weather being foggy and noticed a small bit of

condensation on the service jack as he was removing it from the scene. (Defs’ Mem. at 4–5.)

Christian was working in the garage with all of the exterior garage doors closed. Lt. Mahoney

arrived at the scene 30 minutes after the initial 911 call and was last to leave. By that time, the

garage doors had been open for several hours, and the service jack had been used repeatedly by

first responders. The “small bit of condensation” he refers to could have formed at any time after

the garage doors were opened. Lt. Mahoney has no personal knowledge of what equipment was

used by Christian, and his opinion is speculative and unreliable. (Pls’ Stmt. ¶ 11 at 4–5.)

       The views expressed by Plaintiffs’ youngest son, Parker, also are not evidence that

Christian was using the service jack, as opposed to the jack stand. (Defs’ Mem. at 5.) Parker

was not home on March 11, 2011, and never watched Christian change the oil on the BMW.

Parker admittedly is the least knowledgeable about working on cars, and his views about what

equipment is used or how it is used are not necessarily consistent with those of Mr. Klorczyk’s or

Christian’s. (Pls’ Stmt. ¶ 14 at 6.)

       Defendants’ remaining assertions are easily dismissed. Mrs. Klorczyk did not make any

statement to Waterford Police Officer Krysztofiak concerning the cause of the collapse, nor does

she have any knowledge (beyond what she observed in the garage) as to what equipment was

being used by Christian. (Id. ¶ 9 at 3.) Mr. Klorczyk also never told The Day newspaper

reporter how the BMW may have collapsed as Defendants contend. (Id. ¶ 15 at 6.) And, the



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inaccuracies in Mr. Klorczyk’s Internet posts in the days immediately following the death of his

son were addressed at length at his deposition. Mr. Klorczyk made clear that the posts were his

outlet for releasing the intense grief and psychological trauma that understandably impaired his

capacity to accurately recount his observations in the garage.         (Id. ¶¶ 23–25 at 10–11.)

Defendants improperly manipulate Mr. Klorczyk’s grief in a baseless attempt to attack his

credibility which, in any event, is a matter for cross examination, not summary judgment.

B.     Defendants’ Jack Stand Failed Due To False Engagement.

       Beyond offering their alternative service jack theory, Defendants have done nothing to

refute the occurrence of false engagement as the cause of Christian’s death. Defendants’ attacks

on Mr. Heath are yet another example of their frivolous attempts to distract the Court from the

concrete evidence underlying Mr. Heath’s expert opinions; in particular, that false engagement is

the most likely cause for the subject jack stand’s failure in this case. Defendants cannot rule out

that false engagement was the cause of the collapse, nor do they offer any evidence to refute Mr.

Heath’s opinions.

       The obvious explanation for Defendants’ failure to respond to false engagement is that,

contrary to their initial position in this action, Defendants were aware, prior to March 11, 2011,

that the ratchet-and-pawl design permitted the occurrence of false engagement, and that the

defect could result in serious bodily injury or death. (Pls’ Stmt. ¶ 24 at 27.) During his tenure

with SFA, Mr. Claypool and SFA’s General Counsel, Arthur Chaykin, had numerous discussions

concerning false engagement in connection with Mr. Claypool’s review of claims involving jack

stand failures and sudden, unexpected loss of ratchet bar height under load. The topic of false

engagement also was discussed by members of the ASME-PALD committee, including Mr.

Claypool and Defendants’ committee representatives. Mr. Claypool proposed an alternative



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design with a secondary locking mechanism for the precise purpose of preventing collapse (and

injury or death resulting therefrom) due to false engagement. Defendants did not act on Mr.

Claypool’s proposal, even as industry peers and competitors implemented such additional safety

features in their comparable jack stand products. For example, Allied, Torin, and Strongway

developed and implemented for sale ratchet-and-pawl design jack stands that utilized redundant

and secondary locking mechanisms to protect users from the collapse hazard posed by false

engagement. Defendants were aware of such developments and ultimately could not resist the

market change; currently, they sell a ratchet-and-pawl design jack stand that incorporates a

redundant locking feature at minimal additional cost compared to the subject jack stand sold to

Christian. (Id. ¶ 26 at 27–28.)

C.     Defendants Failed To Implement Adequate and Appropriate Safety Features Or
       Warnings.

       On top of rejecting additional safety features, Defendants failed to provide adequate or

appropriate warnings and instructions concerning false engagement. Nothing in the Operators

Manual or the on-product labels for the subject jack stand warn the user that the tip of the pawl

may not fully engage with the ratchet bar. Such warnings are especially important because false

engagement is not an obvious hazard, as the enclosed neck collar of the jack stand prevents the

user from seeing whether the locking pawl is fully engaged.6 False engagement also gives the

user the false sense that the jack stand is safe when in fact it is subject to sudden, unexpected loss

of ratchet bar height.     Contrary to Defendants’ inaction, industry peers and competitors

developed warnings and instructions for products comparable to the subject jack stand that

specifically address the crush hazard posed by false engagement. (Pls’ Stmt. ¶¶ 28–30 at 28–29.)



       6
        A portion of the neck collar of the exemplar jack stand pictured on page 2 supra was cut
out by Mr. Heath to permit visualization of false engagement.

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       Defendants’ argument that the Operators Manual conforms to the minimum industry

guidelines provided by the ASME-PALD committee is not determinative. (Defs’ Mem. at 20–

22.) The evidence shows that Mr. Klorcyzk and Christian reviewed and discussed the Operators

Manual, and found it to be confusing and unclear. (Pls’ Stmt. ¶¶ 27–29 at 27–28.) Plaintiffs’

warnings expert, Dr. Eric Boelhouwer, reviewed the evidence and opines that the Operators

Manual is inadequate and inappropriate with respect to false engagement, further rendering the

jack stand unreasonably dangerous. (Id.) And, had Defendants incorporated adequate and

appropriate warnings, it is more likely than not that Christian would have changed his behavior

such that he would not have been killed by false engagement. (Id. ¶ 30 at 29.)

D.     Using A Single Jack Stand Was Foreseeable.

       Defendants’ misuse argument is unavailing because the record supports finding that they

were aware, prior to March 11, 2011, that it was common for a single stand to be used for do-it-

yourself jobs such as oil changes. (Id. ¶ 26 at 28.) Moreover, Defendants cannot show that

Christian’s use of a single jack stand was the sole proximate cause of the collapse, or that the

collapse would not have occurred if two jack stands had been used. The issue of what part, if

any, the alleged “misuse” contributed to the collapse is a question for the jury.

       In sum, the foregoing facts, set forth at length in Plaintiffs’ accompanying Local Rule

Statement, illustrate the myriad disputed issues precluding summary judgment. Defendants’

arguments are not appropriate for summary adjudication, as only the trier of fact can weigh the

evidence and determine Defendants’ liability.




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                                      III.    ARGUMENT

A.     Defendants Cannot Meet the Standard for Granting Summary Judgment.

       “Summary judgment is only warranted upon a showing that there is no genuine issue as

to any material fact and that the moving party is entitled to judgment as a matter of law.”

Allstate Ins. Co. v. Hamilton Beach/Proctor Silex, Inc., 473 F.3d 450, 455 (2d Cir. 2007)

(quotation marks omitted). “A genuine issue of material fact exists, where ‘there is sufficient

evidence favoring the nonmoving party for a jury to return a verdict for that party.’” Id. at 456–

56 (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)).

       “A reasonably disputed, legally essential issue is both genuine and material and must be

resolved at trial.” Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996) (citing Anderson, 477

U.S. at 248, 250). “In assessing the record to determine whether there is such an issue, the court

is required to resolve all ambiguities and draw all permissible factual inferences in favor of the

party against whom summary judgment is sought.” Hamilton Beach/Proctor, 473 F.3d at 456

(quoting Stern v. Trs. of Columbia Univ., 131 F.3d 305, 312 (2d Cir. 1997)). “If, as to the issue

on which summary judgment is sought, there is any evidence in the record from which a

reasonable inference could be drawn in favor of the opposing party, summary judgment is

improper.” Security Ins. Co. of Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 83 (2d

Cir. 2004) (quoting Gummo v. Village of Depew, 75 F.3d 98, 107 (2d Cir. 1996)).

B.     There Is A Genuine Issue Whether Christian Was Using Defendants’ Jack Stand.

       The Court should deny Defendants’ motion because there is a genuine issue whether

Christian was using their jack stand when the BMW collapsed. Defendants’ principal argument

that Christian was using the service jack, as opposed to their jack stand, is not a proper basis for




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summary judgment, as it requires the Court to resolve a disputed question of fact as to the cause

of Christian’s death.

       The evidence summarized above supports finding that Defendants’ jack stand was being

used to support the BMW when the vehicle collapsed on to Christian, pinning him to the garage

floor. Each of the percipient witnesses to the unaltered scene, including Plaintiffs and Mr.

Hausmann, testified that they observed the jack stand in the location where it would have been

used to support the BMW in an elevated position – beneath the front passenger-side, inboard of

the front-passenger side wheel well. (Pls’ Stmt. ¶¶ 5, 10, 12–19 at 21, 23–25.) Defendants

cannot rule out that Christian was using their jack stand when the collapse occurred. Rather,

Defendants improperly attack the witnesses’ credibility and argue that the witnesses’ first-hand

observations of the jack stand’s location beneath the BMW are somehow “speculative.” (Defs’

Mem. at 13–17.) Defendants offer no alternative explanation for the jack stand being in that

location other than that Christian was using the jack stand the moment when the BMW

collapsed. Defendants’ service jack theory also is at odds with the witnesses’ testimony that the

service jack was parallel to the passenger-side of the BMW with the lifting arm fully lowered

and the lifting handle removed.      The only explanation for the service jack’s disassembled

position is that Christian lowered the lifting arm, moved the service jack away from the BMW,

and removed the lifting handle after transferring the load to the jack stand, consistent with the

process that Christian was taught by Mr. Klorczyk. (Id. ¶¶ 11 , 16, 19 at 4, 23. 25.) Defendants

merely seek to cast aside the record evidence that does not suit their spin on causation; however,

their service jack theory requires that the Court resolve essential factual disputes in their favor.

At this stage, all such disputes – including that Christian was using Defendants’ jack stand –

must be resolved in Plaintiffs’ favor. See Savage v. Scripto-Tokai Corp., 266 F. Supp. 2d 344,



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349–50 (D. Conn. 2003) (denying summary judgment where facts reasonably supported finding

in the plaintiffs’ favor concerning use of defendant’s product).

       The cases relied on by Defendants are distinguishable. In Gill v. Teva Respiratory, LLC,

No. 3:16-cv-00299, 2017 WL 6614228 (D. Conn. Dec. 27, 2017) (Defs’ Mem. at 16), the

plaintiff brought a brought liability action claiming that the defendant’s inhaler was defective

because she breathed in a thumbtack that had become lodged inside the inhaler. Id. at *1–2. The

Court granted summary judgment because there was no evidence to refute the defendant’s

showing that the thumbtack could not have entered the inhaler at any time that it was within their

possession or control. Id. at *2–3.

       Here, Defendants’ service jack theory is belied by the evidence showing that the service

jack was in a dissembled position and location such that the service jack could not have possibly

been in use when the BMW collapsed as Defendants contend. Dr. Sprague’s opinion that

Christian was using the service jack is not conclusive because the marks on the passenger-side

rocker panel could have existed prior to the incident as a result of driving the BMW in winter

conditions (or any number of reasons). In formulating his opinion, Dr. Sprague improperly

rejected testimony of the percipient witnesses concerning the position of the service jack.

Further, the evidence shows that the jack stand’s position beneath the front passenger side of the

BMW is such that the jack stand is the only device that Christian could have been using to

support the BMW when the collapse occurred. Unlike in Gill, the evidence in this case is

directly at odds with Defendants’ theory of causation, and consistent with Plaintiffs’ claims that

Christian was killed when Defendants’ defective jack stand failed.

       Similarly, in Garrett v. Crown Equip. Corp., No. 3:15-cv-00942, 2017 WL 2727086 (D.

Conn. June 23, 2017) (Defs’ Mem. at 16), the plaintiff brought a product liability action claiming



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he was injured because of two specific defects in the design of the defendant’s pallet truck. Id. at

*1–2. The Court granted summary judgment because, even assuming that the pallet truck was

defectively designed, the evidence demonstrated that the defect could not have caused the

plaintiff’s injuries.

        Here, the evidence of the subject jack stand’s condition and location beneath the front

passenger side of the BMW is consistent with the occurrence of false engagement as the cause of

the collapse. Unlike Garrett, Mr. Heath’s opinion that the false engagement design defect

caused Christian’s death is amply supported by the evidence that places the subject jack stand in

the location where it would have been used by Christian to support the BMW in an elevated

position as he was underneath completing the oil change.

        In short, the Court should deny Defendants’ motion because the evidence supports

finding that Christian was using their jack stand to support the BMW when the jack stand failed,

causing the BMW to collapse on to Christian’s face and chest.

C.      There Is A Genuine Issue Whether Defendants’ Jack Stand Is Unreasonably
        Dangerous Due to False Engagement.

        Defendants’ motion also fails because there is a genuine issue whether false engagement

renders their ratchet-and-pawl design jack stand unreasonably dangerous.               Contrary to

Defendants’ assertions, the evidence supports finding that the risks posed by false engagement

outweigh the subject jack stand’s utility, particularly considering the availability of feasible

alternative designs.

        The Connecticut Supreme Court recently clarified that the primary standard for

determining whether a product is unreasonably dangerous under the Act is the “modified

consumer expectation” or “risk-utility” test. Bifolck v. Philip Morris, Inc., 324 Conn. 402, 432

(2016); Izzarelli v. R.J. Reynolds Tobacco Co., 321 Conn. 172, 202–03 (2016). “Under this test,


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a product is unreasonably dangerous if a reasonable, informed consumer would conclude that its

risks outweigh its utility. . . . This is a multifactor test, under which no single factor is per se

determinative.” Bifolck, 324 Conn. at 415–16 (citing Potter v. Chicago Pneumatic Tool Co., 241

Conn. at 221 n.15 (listing factors, including “the usefulness of the product, the likelihood and

severity of the danger posed by the design, the feasibility of an alternative design, the financial

cost of an improved design, the ability to reduce the product’s danger without impairing its

usefulness or making it too expensive, and the feasibility of spreading the loss by increasing the

product’s price or by purchasing insurance”)).

       Under this test, the “jury weighs the product’s risks and utility,” which includes a

consideration of the “availability of an alternative design” and a comparison of the alternative

“design’s risks and utility to that of the product sold.” Id. at 432. “A product is in a defective

condition unreasonably dangerous to the consumer or user if: (1) [a] reasonable alternative

design was available that would have avoided or reduced the risk of harm and the absence of that

alternative design renders the product unreasonably dangerous. In considering whether there is a

reasonable alternative design, the jury must consider the feasibility of the alternative. Other

relevant factors that a jury may consider include, but are not limited to, the ability of the

alternative design to reduce the product’s danger without unreasonably impairing its usefulness,

longevity, maintenance, and aesthetics, without unreasonably increasing cost, and without

creating other equal or greater risks of danger.” Id. at 434–35.

       Here, the evidence, including Mr. Heath’s testing of false engagement utilizing an

exemplar jack stand and BMW, supports finding that the subject jack stand is unreasonably

dangerous by virtue of false engagement.           As Mr. Heath’s testing demonstrates, false

engagement occurs in circumstances extant to those present in the Klorczyk’s garage when the



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BMW collapsed on to Christian.         In particular, the ratchet-and-pawl design is capable of

supporting weight comparable to the BMW without the locking pawl being fully engaged in the

ratchet bar, giving users (such as Christian) the false sense that the jack stand is safe when in fact

it is subject to sudden and unexpected loss of ratchet bar height. (Pls’ Stmt. ¶¶ 32–33 at 13–14,

¶¶ 21–22 at 26.) Notwithstanding Defendants’ baseless attacks on Mr. Heath’s methodology,

they have no valid basis to refute Mr. Heath’s opinion that false engagement is the most likely

cause of the subject jack’s stand’s failure in this case.       And, notwithstanding Defendants’

assertions at the outset of this action, Mr. Claypool’s testimony makes clear that Defendants

were aware of false engagement well prior to the fatal jack stand failure on March 11, 2011. (Id.

¶¶ 25–26 at 27–28.)

       There is ample evidence for the jury to conclude that the risks of serious bodily injury or

death posed by false engagement outweigh the utility of the subject jack stand’s ratchet-and-pawl

design. Whereas the ratchet-and-pawl design incorporates a single locking mechanism that relies

on full engagement between the locking pawl and ratchet bar, available alternative designs

incorporate redundant or secondary locking mechanisms, including a redundant locking pin,

specifically to prevent collapse of the ratchet bar due to false engagement – the very same

collapse that killed Christian.     (Id. ¶ 26 at 27–28.)       Defendants admit that the cost of

implementing this additional safety feature is a non-issue; in fact, they currently sell comparable

jack stand products with secondary locking mechanisms. In the course of his employment with

SFA, Mr. Claypool even developed plans for such an alternative design; however, Defendants

did not act on Mr. Claypool’s proposal. (Id.) The jury is entitled to consider these and the other

factors under the risk-utility test to determine whether the subject jack stand is unreasonably

dangerous.



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       Defendants’ cases are inapposite. In Kuzmech v. Werner Ladder Co., No. 3:10-cv-266,

2012 WL 6093898 (D. Conn. Dec. 7, 2012), the principal case relied on by Defendants (Defs’

Mem. at 17, 26), Judge Bryant found that the plaintiffs’ proffered expert was qualified to opine

on whether the defendants’ aluminum ladder was defectively designed. Id. at *7. Nonetheless,

the Court granted the defendants’ motion to preclude because the expert’s “conclusions that the

ladder was defective [were] based on nothing more than his cursory visual inspection of the

ladder and rough measurements.” Id. In so ruling, the Court noted that the expert “admittedly

did not undertake any testing of the defective ladder despite acknowledging that such testing was

not only feasible but not difficult to accomplish.” Id.

       In this case, unlike the expert in Kuzmech, Mr. Heath not only is qualified to opine on

whether Defendants’ jack stand is defectively designed, his opinion in this respect is based on the

evidence, including the percipient witnesses’ testimony, as well as his extensive testing and

analysis of false engagement. Defendants have done no testing or analysis to refute Mr. Heath’s

findings that false engagement is the most likely cause of the subject jack stand’s failure.

Indeed, the Court’s description of the limited work done by the expert in Kuzmech better applies

to Defendants’ expert, Dr. Sprague, who “admittedly did not undertake any testing” of false

engagement. Mr. Heath’s testing, by comparison, is comprehensive.

       The rulings in Graham v. Fireline, Inc., No. 3:03CV00990, 2006 WL 1646165, at *7 (D.

Conn. June 14, 2006), and White v. Mazda Motor of Am. Inc., No. HHDCV086003322S, 2011

WL 3211221, at *4–5 (Conn. Super. Ct. June 22, 2011) (Defs’ Mem. at 16–17, 27) also have no

bearing here. In those cases, the proffered experts made no attempt to establish a causal link

between the alleged defects and the plaintiffs’ injuries; by contrast, Mr. Heath’s testing shows




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that false engagement was the most likely cause of the fatal injuries suffered when the jack stand

failed and the BMW collapsed on to Christian. (Pls’ Stmt. ¶ 22 at 26–27.)

       Likewise, in Simjian v. Bayer Corp., No. 3:10-CV-1263, 2012 WL 1194283, at *1 (D.

Conn. Apr. 10, 2012), Gold v. Dalkon Shield Claimants Tr., No. B-82-383, 1998 WL 351456, at

*3 (D. Conn. June 15, 1998), Koger v. Synthes North America, Inc., No. 3:07-CV-01158, 2009

WL 5110780, at *2–3 (D. Conn. Dec. 17, 2009), and Perez v. Toyota Motor Sales U.S.A., Inc.,

No. 3:11CV1112, 2013 WL 3540508, at *2 (D. Conn. July 11, 2013) (Defs’ Mem. at 26–27), the

Court granted summary judgment because the plaintiffs failed to offer any expert testimony in

support of their product defect claims – none of these cases bear any resemblance to the case at

bar.

       Mr. Heath is eminently qualified to opine on whether Defendants’ jack stand is

defectively designed, and his opinions will assist the jury determine whether the subject jack

stand is unreasonably dangerous due to false engagement. Mr. Heath’s opinions are based on the

evidence, and on sound principles and methodologies that he reliability applied to the facts of

this case in accordance with Federal Rule of Evidence 702. Defendants’ attacks on Mr. Heath go

to weight, and are not grounds for preclusion or summary judgment.

D.     There Is A Genuine Issue Concerning Defendants’ Failure to Warn.

       The Court should also reject Defendants’ motion directed at Plaintiffs’ failure to warn

claims. Because the evidence supports finding that false engagement caused Defendants’ jack

stand to fail, there is a genuine issue whether Defendants’ failure to provide adequate warnings

and instructions on false engagement further renders their jack stand defective and unreasonably

dangerous.




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          The Act provides that a “product seller may be subject to liability for harm caused to a

claimant who proves by a fair preponderance of the evidence that the product was defective in

that adequate warnings or instructions were not provided.” Conn. Gen. Stat. § 52-572q(a). “In

determining whether instructions or warnings were required and, if required, whether they were

adequate, the trier of fact may consider: (1) the likelihood that the product would cause the harm

suffered by the claimant; (2) the ability of the product seller to anticipate at the time of

manufacture that the expected product user would be aware of the product risk, and the nature of

the potential harm; and (3) the technological feasibility and cost of warnings and instructions.”

Id. § 52-572q(b) (emphasis added).

          Here, neither the Operators Manual nor the on-product labels for the subject jack stand

provide adequate or appropriate warnings or instructions concerning the occurrence of false

engagement. (Pls’ Stmt. ¶ 29 at 28.) Defendants point to language in the Operators Manual that

users should “Check to ensure ratchet bar is secure before loading” (Defs’ Mem. at 29 (quoting

Operators Manual at 3)); however, this ambiguous language falls far short of providing adequate

warning of false engagement and the crush hazard posed thereby.

          The Connecticut Appellate Court’s decision in Ames v. Sears, Roebuck & Co., 8 Conn.

App. 642 (1986), cert denied, 201 Conn. 809, is illustrative of the well-settled principle that:

“Warnings must specifically identify for the user the danger inherent in the product’s use.” Id. at

646 (quoting Giglio v. Connecticut Light & Power Co., 180 Conn. 230, 235 (1980)) (emphasis

added).     In Ames, the Appellate Court upheld the jury’s finding that the defendant failed

adequately to warn of its riding mower’s lack of a “deadman’s control,” which would have

automatically shut off the mower if the user fell off while riding it. “[T]here was no warning by

the defendant that if the user of the operating riding mower fell from the machine, the absence of



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a deadman’s control would result in its continuing operation, thus presenting a substantial risk

that the user could be seriously injured. Under these circumstances, ‘[t]he defendant had a duty

adequately to warn the plaintiff of this unreasonably dangerous condition.’” Id. (quoting Giglio,

180 Conn. at 237); see also Tomer v. American Home Product Corp., 170 Conn. 681, 689–90

(1976) (“If a manufacturer knows or should know that a product may cause serious injury to

users, but does not warn of the potentially injurious effects either through negligence or because

of concern that sales of the product would thereby be reduced, he cannot be absolved from the

imposition of strict liability in tort because an appreciable number of users would not be

adversely affected.” (quotation marks omitted)).

       The evidence shows that Defendants were aware, prior to March 11, 2011, that their

ratchet-and-pawl design jack stand permitted the occurrence of false engagement and that the

occurrence of false engagement in a jack stand under load posed a crush hazard, potentially

resulting in serious bodily injury or death. (Pls’ Stmt. ¶ 25.) Further, the occurrence of false

engagement is not obvious to the user because, among other things, the enclosed base frame of

the jack stand prevents the user from visually confirming whether the locking pawl is fully

engaged with the ratchet bar. Because the jack stand is capable of supporting a significant load

while aligned in false engagement, occurrence of the defective condition also gives the user the

false sense that the jack stand is safe when in fact it is subject to sudden, unexpected failure.

Notwithstanding the severe risk posed by false engagement, and despite being in a position to

implement adequate warnings with minimal effort, Defendants provided only barebones and

ambiguous information that failed to apprise users of the dangers inherent in their jack stand.

Nothing in the Operators Manual or the on-product labels inform the user that the tip of the pawl




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may not fully engage with the ratchet bar, or that the jack stand may be capable of supporting

load without the pawl being fully engaged. (Pls’ Stmt. ¶¶ 29–31 at 28–29.)

        Plaintiffs retained an expert on warnings and communications pertaining to product

safety, Dr. Eric Boelhouwer. Based on the evidence, and on his expertise in the field, Dr.

Boelhouwer concludes the subject jack stand is unreasonably dangerous because it lacks

adequate and appropriate warnings and instructions, including that:

    •   There is no warning that addresses the hazardous condition that may exist if the locking
        pawl is not fully engaged with the ratchet bar;

    •   Neither the Operators Manual nor the on-product labels identify how to distribute the
        load between the jack stands or the potential crush hazard; and

    •   Neither the Operators Manual nor the on-product labels identify proper support points for
        the jack stands.

(Id. ¶ 29–28–29 (citing Boelhouwer Report at 3–5)). Mr. Klorczyk and Christian reviewed and

discussed the Operators Manual, including how they found it to be confusing and unclear. (Id. ¶

28 at 28.)    In contrast to Defendants’ lack of appropriate warnings, industry peers and

competitors developed warnings for comparable jack stand products that specifically address the

crush hazard posed by false engagement.       As but one example, Sealey Quality Machinery

instructs users of its 3-ton ratchet-and-pawl jack stand to: “Ensure the centre column is locked

with the locking lever down and pawl engaged with a ratchet tooth;” “Ensure toothed side of

column will engage with locking lever mechanism;” “WARNING! ENSURE PAWL IS FULLY

ENGAGED WITH TEETH;” “Failure to heed these warnings may cause damage, injury or loss

of life.” (Pls’ Stmt. ¶ 29 at 28–29 (citing Boelhouwer Dep. Ex. 12, Sealey Quality Machinery

Instructions (emphasis in original).) Had such warnings and instructions been provided by

Defendants, Christian would have been alerted to the hazard posed by false engagement and

would not have suffered the harm resulting therefrom. (Id. ¶¶ 28–31 at 28–29.) The jury is


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entitled to weigh the evidence and determine whether Defendants’ jack stand is unreasonably

dangerous based on Defendants’ failing to provide adequate and appropriate warnings.

E.     Defendants’ Remaining Arguments Are Unavailing.

       Defendants’ remaining arguments concerning their alleged compliance with certain

industry guidelines and Christian’s alleged “misuse” of their jack stand are unavailing, and do

not warrant summary judgment.

       1.      Defendants’ Industry Guidelines Argument Is Not Dispositive.

       Defendants claim that their jack stands comply with “controlling regulations” (Defs’

Mem. at 20–22); however, the ASME-PALD standards that Defendants refer to are neither

“controlling” nor are they “regulations.”     Rather, the ASME-PALD publications provide

minimum safety standards as industry guidance, and compliance on the industry’s part is

voluntary.   (Pls’ Stmt. ¶ 34 at 14.) The testing purportedly undertaken by Defendants in

connection with observing certain guidance for jack stand products does not address, much less

prevent, the occurrence of false engagement in the subject ratchet-and-pawl design. And, to the

extent that Defendants argue they met certain ISO factory standards, their argument is beside the

point (Defs’ Mem. at 20–21). Plaintiffs’ claims in this action are not based on a manufacturing

defect; the condition of the factory where the jack stands were manufactured is not relevant. In

any event, the question of whether or not Defendants complied with certain standards is not

dispositive. See, e.g., Restatement (Third) of Torts: Prod. Liability § 4(b) (“[A] product’s

compliance with an applicable product safety statute or administrative regulation is properly

considered in determining whether the product is defective with respect to the risks sought to be

reduced by the statute or regulation, but such compliance does not preclude as a matter of law a

finding of product defect.”).



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       2.      Defendants’ “Misuse” Argument Is Not Dispositive.

       Defendants’ misuse argument also fails (Defs’ Mem. at 30–33). “Misuse occurs when a

product is not used in a manner which should have been foreseen by the defendant.” Hartford

Fire Ins. Co. v. Dent-X Int’l, Inc., No. 3:05CV1019, 2007 WL 911841, at *5 (D. Conn. Mar. 23,

2007) (quoting Norrie v. Heil Co., 203 Conn. 594, 600 (1987)). “A plaintiff’s unforeseeable

misuse of a product is a valid defense to a products liability claim. . . . Still, in light of

Connecticut’s comparative fault statute, a plaintiff’s unforeseen misuse does not completely bar

the plaintiff from recovery unless the plaintiff’s unforeseen misuse was the sole proximate cause

of injury.” Martin v. Ryobi Techs., Inc., No. 3:15-cv-00973, 2018 WL 1440170, at *4 (D. Conn.

Mar. 22, 2018)

       Here, the jury reasonably could find that using a single jack stand to support the front

passenger-side of the BMW while completing a routine oil change was foreseeable. (Pls’ Stmt. ¶

27 at 28.) Moreover, there is no evidence that using a single jack stand was the sole cause, or

even a contributing factor in the cause, of injury in this case. Defendants have not (and cannot)

show that using two jack stands would have somehow prevented the subject jack stand from

failing due to false engagement. This is yet another disputed factual issue that only the jury can

resolve. See id. at *4 (denying summary judgment where there were triable issues as to whether

the plaintiff’s alleged misuse was foreseeable and whether alleged misuse was sole cause of

injury); Dent-X, 2007 WL 911841, at *5 (denying summary judgment where disputed issue

whether alleged misuse was sole cause of or only a contributing factor in injury).

                                     IV.    CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motion for summary

judgment in its entirety.



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                                  PLAINTIFFS,
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                                       CERTIFICATION

        I HEREBY CERTIFY that on this date a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                         /s/ Bryan J. Orticelli
                                                  Bryan J. Orticelli (ct28643)




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